
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-03-066-CV

TITAN DIVERSIFIED, INC., CGS	APPELLANTS

WORLDWIDE, INC., INTERSOURCE

MANAGEMENT, INC., FIRST 

AMERICAN MANAGEMENT, INC., 

BLUE CHIP MANAGEMENT, INC., 

AND STEVEN HAWTHORNE	



V.



DANIEL E. BLUMBERG D/B/A 	APPELLEE

BLUMBERG &amp; ASSOCIATES &nbsp;&nbsp;



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FROM COUNTY COURT AT LAW NO. 3 TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On July 24, 2003 and August 7, 2003, we notified appellants that their brief had not been filed as required by T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellants or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellants' brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellants shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: September 11, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




